                                                                                                  Case 5:18-cv-00657-HSP
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v                         _,-                                             ' if.!''                                                                                       ;' .,·.·~                    !
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JS'"II                                                               !
                             (Rev.06/17)                             '.l'
                                                                                                                                                                                             CIVIL COVER SHEET
                                                                                                                                                     tained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
                                                                                                                                               . ;•: ed by the Judiciql Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
                                                                                                                                            "'.f'£NST/i!ICT!Ufi:~,0~ NEXT l'AUl:'OF 1HfS FORM.)
                                                                                                                                                                                     ,..                                                                                   I          DEFENDANTS
     Maritza Orengo and Edwin Orengo
     3606 Wyoming Ride South, Sinking Spring, P
                                                                                                                                                                                                                                                                                 Speedway LLC                                                                                               18
               (b) County of Residence of First Listed Plaintiff                                                                                                                                                                                                                     County of Residence of First Listed Defendant
                                                                                                  (L'.\r'Ff'T f N U.S. f'LAJ N71 l'f ( 'AShS}                                                                                                                                                                                                                 (fN U.S. PLAfNTJFFCASfsoNLY)
                                                                                                                                                                                                                                                                                      NOTE:                     IN LAND CONDEMNATION CASES, l



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               ( c) Attorneys (Firm Name, Address, and Telephone Nu111her)                                                                                                                                                                                                             Attorneys (If Known)
     Michael P. Malvey, Esq., Galfand Berger LLP         .                                                                                                                                                                                                                       Michael T Droogan, Jr., Esquire, Law Offices of Cullen and Conwell,
     1835 Market Street, Ste. 2710, Philadelphia, PA (215~665-1600                                                                                                                                                                                                               LLC, 140 East Main Street, DD: (215) 280-3489

II. BASIS OF JURISDICTION (Placean "X" /11011c!lox011'(y)                                                                                                                                                                                        Ill. CITIZENSHIP OF PRINCIPAL PARTIES (/'face an                                                                                                                            "X" in One l!oxfi!r l'lamr!ff
                                                                                                                                                                                                                                                                                                                                                                                                                       and One /!ox .fi>r Oefendanl)
CJ I                        U.S. Government                                                                     03        Federal Question                                                            I
                                                                                                                                                                                                                                                                                                                                                                        IH:F                                                                   PTF            DEF
                                        Plaintiff                                                                            (l!.5)', Uovernment Nut a                                    Part~)                                                             Citizen of This State                                                                                                       Incorporated or Principal Place                         0 4          CJ 4
                                                                                                                                                                                                                                                                                                                                                                                           of Business In This State

0                           U.S. Government
                               De fondant                                                                                                                                                                  in /rem Ill}
                                                                                                                                                                                                                                                             Citizen of Another State                                                                                     IJ       2     [ncorporate<l and Principal Pince
                                                                                                                                                                                                                                                                                                                                                                                            of Business In Another State
                                                                                                                                                                                                                                                                                                                                                                                                                                                 0 5    ~5)
                                                                                                                                                                                                                                                             Citizen or Subject of a
                                                                                                                                                                                                                                                               Foreign Coun
                                                                                                                                                                                                                                                                                                                                            0 3                           0        3     Foreign Nation
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IV. NATURE OF SUIT"/71Gce an                                                                                                "X" in One /JoxOnM                                                                                                                                                                                                                                Click here for: Nature of Suit Code Descri lions.
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!:J 110 Insurance                                                                                                 PERSONAL IN.HIRY                                               PER~ONAL INJURY                                                             0 625 Drng Related Seizure                       CJ 375 False Claims Act                  0 422 Appeal 28 USC !58
i:J 120 Maiine                                                                                                0 3 I 0 Airplane                                                 0 365 P:ersonal Jnjury -                                                            of Property 21USC881                       l:J 376 Qui Tarn (31 USC                 0 423 Withdrawal
0 130 Miller Act                                                                                              0 315 Ai1pla11e Product                                flroduct Li~bility                                                                      0 690 Other      28 USC 157                               3729(a))
l:J 140 Negotiable lnstnnncnt                                                                                           Liability                           0 367 Health Care/                                                                                                                                l:J 400 State Reapportioument
0 150 Recovery of Overpayment                                                                                  0 320 Assault, Libel &                               Phamrnceutical                                                                                  , · :pn                   Ts: :·:' • " l'.1 410 Antitrust
                                                                                                                                                                                                                                                                                                    1 111


         & Enforcement of.Judgment                                                                                      Slander                                     Personal Injury                                                                              0 820 Copyrights                             0 430 Banks and Bank111g
l:J I 51 Medicare Acl                                                                                         0 330 Federal Employers'                              Product Liability                                                                           CJ 830 Patent                                 l'J 450 Commerce
0 l 52 Recovery of Defaulted                                                                                           Liability                            0 368 Asbestos Persoual                                                                             0 835 Patent - Abbreviated                    0 460 Deportation
         Student Loans                                                                                        0 340 Ma1ine                                           Il1ju1y Product                                                                                         New Drug Application             0 470 Racketeer Influenced and
         (Excludes Veterans)                                                                                  0 345 Marine Product                                   (~iability                                                                                 l:J 840 Trademark                                     Co1rnpt Organizations
i:J 153 Recovery ol'Overpayment                                                                                         Liability                              PERS0NAL PROPERTY                               ll':'ll1iU' '""u'h               ·'·'', '"'"'~"'"' 11:.. ,,,,~.·..-."JK , wo.;.'li:'::,;·,,.:, 0 480 Consumer Credit
         of Veteran's Benefits                                                                                0 350 :vlotor Vehicle                         l:J 370 dther Fraud             0 710 Fair Labor Standards                                          0 861 HIA (1395fl)                            l'J 490 Cable/Sat TV
L'J 160 Stockholders' Suits                                                                                                                                 0 371 ·1iruth in Lending                    Act                                                     0 862 Black Lung (923)                        0 850 Securities/Commodities/
0 190 Other Contract                                                                                                   Product Liability                    0 380 Other Persoual            0 720 Labor/Management                                              0 863 DIWC/DIWW (405(g))                               Exchange
0 l 95 Contract Product Liability                                                                                    0 Other Personal                               P~·opc11y Damage                     Relatious                                               0 864 SSID Title XVI                         0 890 Other Statutory Actions
!:J 196 Franchise                                                                                                      Injury                               l:J 385 Prope11y Damage         l:J 740 Railway Labor Act                                           0 865 RSI (405(g))                            l'J 891 Agricultural Acts
                                                                                                              0 342 Personal Iujmy -                                1>roduc1 Liability      0 751 Frnnily and Medical                                                                                         0 893 Environmental Matters
                                                                                                                   / Medical Maloractice                              '                                  Leave Act                                                                                            CJ 895 Freedom oflnformation
          "'                 RE8ll·'PR(l)PERTY'''"I:,"'·                                       'No           1,:, J!Q,fVU!)RJ(;;Hl'S :, ' ,' 1:::::!1i'i!·,. iPRISdNiFJ'ltiiPETl'l'IONS, !' 0 790 Other Labor Litigation                                       '1':11:' :.'FEDERl'l:L'TAX'$trlTS'                      Act
0 210 Land Condemnation                                                                                      rLJ 440 Other Civil Rights                         HabJas Corpus:              0 791 Employee Retirement                                           0 870 Taxes (U.S. Plaintiff                   l:J 896 Arbitration
0              220 Foreclosure                                                                                0 441 Voting                                  l:J 463 41ien Detaiuee                      Income Security Act                                                   or Defeudaut)                   i:J 899 Administrative Procedure
0              230 Rent Lease & Ejectment                                                                     0 442 Employment                              0 5 I 0 ty!otions to Vncate                                                                         0 871 IRs ......:rhinl Party                          Act/Review or Appeal of
0              240 Torts to Land                                                                              0 443 Housing/                                        S~ntence                                                                                                 26 USC 7609                              Agency Decision
0              245 Tort Product Liabili1y                                                                              Accommodations                       0 530 General                                                                                                                                     0 950 Constitutionality of
0              290 All Other Real Prope11y                                                                    0 445 Amer. w/Disabilities - i:J 535 death Penalty                           I l'i'~ .::::11.:i"']MJlifl~'RW\Ji[QNi 1\'!·'ii!il1li11!ii!:li:',i:                                                        State Statutes
                                                                                                                       Employment                               Othe'~:                     0 462 Naturalization Application
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                                                                                                              Cl 448 Education                              l:J 555 llrison Condition
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V. ORIGIN                                                    (P!ci
CJ I Original                                                                                                     ed from                           CJ 3                       Remanded from                                                0 4 Reinstated or                                               0 5 Transforrcd from                                                         0 6 Multidistrict                          0 8 Multidistrict
                           Proceeding                                                                            :ourt                                                         Appella1e Court                                                               Reopened                                                        Another District                                                      Litigation -                         Litigation -
                                                                                                                                                                                                                                                                                                                             (.vpecifjij                                                           Transfer                            Direct File
                                                                                                                    Cite the U.S. Civil Statute und~r which you are filing                                                                                           (Do        1101      citej11risrliction11/ .1·t11t11te.nm/es.v diversity):
VI. CAlJSE OF ACTION I 28 ~.S.C. Sect~ons 1332 and 1441
                                                                                                                    Bnef descnpt1on 01' cause:

Vll. REQUESTED IN     0 CHECK IF THIS IS A CEASS ACTION                                                                                                                                                                                                             DEMAND$                                                                                                         CHJ:JCK:VES only ·if demrn                               complaint:
     COMPLAINT:          UNDER RULE 23, F RCy P                                                                                                                                                                                                                                                                                                                                     JURY DEMAND:                                               ONo
VIII. RELATED CASE(S)
                       (Sec 1nstructffn1s):
                                                                                                                                                                                                                                                                                                                                                                              n ~q c;                 ii l      GJ:J
      IF ANY                                JUDGE                                                                                                                                                                                                                                                                                                                DOCKET NUMBER
DATE


FOR OFl'ICIC LISE~ONLY
                                               Ztt                                                lk
           RECEIPT#                                                                              AMOUNT                                                                                                                                                                                                              JUDGE                                                                         MAG.JUDGE                FEB 14 2018
                             Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 2 of 26

JS 44 Reverse (Rev. 06/17)                                                                                         !


                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained ~erein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court.'; This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

l.(a)    Plaintiffs-Defendants. Enter names (last, first, miOdle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, ex:cept U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. ln U.S. plaintiff cases, enter the nan1e of the county in which the first listed defendant resides at the time of filing. (NOTE: ln land
         condemnation cases, the county of residence of the( "de fondant" is the location of the tract ofland involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".                    '

IL      ,Jurisdiction. The basis of jurisdiction is set forth ~mder Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
        in one of the boxes. If there is more than one basis ofjurisdiction, precedence is given in the order shown below.
        United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
        United States defendant. (2) When the plaintiff is ~uing the United States, its officers or agencies, place an "X" in this box.
        Federal question. (3) This refers to suits under 281(.J.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
        to the Constitution, an act of Congress or a treaty o'hhe United States. In cases where the U.S. is a party, the U.S. plaintiff or delendant code takes
        precedence, and box I or 2 should be marked.
        Diversity of citizenship. (4) This refers to suits under 28 U.S.C. I 332, where parties are citizens of different states. When Box 4 is checked, the
        citizenship of the different parties must be checked'. (See Section 1Tl below; NOTE: federal question actions take precedence over diyersity
        cases.)

Ill.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.     Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
        that is most applicable. Click here for: Nature of Suit Code Descriptions.

v.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (I) Cases which originate i11 the United States district courts.
        Removed from State Court. (2) Proceedings initia~ed in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        When the petition for removal is granted, check thi:s box.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for ca~es reinstated or reopened in the district cou1i. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transforred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation -Transfer. (6) Check this box when a multidistrict case is transforred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diYersity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.    Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
                                                             1




        Demand. In this space enter the actual dollar amotjnt being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indic31te whether or not a jury is being demanded.

VIII.   Related Cases. This section of the JS 44 is used t6 reference related pending cases, if any. If there are related pending cases, insert the docket
        numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.




                                                                                                                                       FEB 14 2018
                            Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 3 of 26
       .·                                 ,,:       · · · UNITJED::ST'l\:T~S DISTRICT COURT
FOR THE EASTERN DISTJJCT OF PE N . VANIA__.;,)>ESIGNATION FORM to be used by counsel to indicate the
category of the case for the purpose of assi · o appropriate calendar.
Address of Plaintiff:      Maritza Orengo a    Orengo, 3?06 Wyoming Ride South, Sinking Spring, PA 19608 ..?.


A.ddress of Defendant                Spe&vav LLC•.5ill1fu>~w.fil'_f:>_xiye, aon, OH 45323

Place of Accident, Incident, or Transaction:                      154 Shillington Road. Sinking Spring. PS 19608
                                                                 (Use R~verse Side for Additional Space)


Does this civil action involve a nongovernmental corporate ~arty<~ith any parent         ~orp~rati           publicly held corporation owning 10% or more of itystock?
            (Attach two copies of the Disclosure Statement l•orrn m accordance with                           a).)                                                 Nes   •     No 0
Does this case involve multidistrict litigation possibilities?
RELATED CASE, IF ANY
Case Number: - - - - - - - - - - - - - , . - J u d g e :                                                                               Date Terminated:
Civil cases are deemed related when "yes" is answered to any of the                         ~


1.    Is this case related to property included in an ea~lier numbered suit pending or within
      one year previously terminated action in this co~rt?                                                                                                         Yes 0        No•

2.    Does this case involve the same issue of fact or grow out of the same transaction as a
      prior suit pending or within one year previously terminated action in this court?                                                                            Yes 0        No•

3.    Does this case involve the validity or infringement of a patent already in suit or any
      earlier numbered case pending or within one ye~r previously terminated action in this
      court?                                                                                                                                                       Yes 0        No.
CIVIL: (Place 181 in ONE CATEGORY ONLY)

A. Federal Question Cases:                   .                                                 B.  Diversiry Jurisdiction Cases:
 1. 0 Indemnity Contract, Marine Contract, arid All Other                                       1. 0 Insurance Contract and Other Contracts
      Contracts                                                                                    0 Airplane Personal Injury
 2. 0 FELA                                                                                         0 Assault, Defamation
 3. 0 Jones Act-Personal Injury                                                                            rine Personal Injury
 4. 0 Antitrust                                                                                          otor Vehicle Personal Injury
 5. 0 Patent                                                                                             ther Personal Injury (Please specify): Premises Liability
 6. 0 Labor-Management Relations                                                                        roducts Liability
 7. 0 Civil Rights                                                                                    Products Liability-Asbestos
 8. 0 Habeas Corpus                                                                                   .All other Diversity Cases (Please specify: _ _ _ _.
 9. 0 Securities Act(s) Cases
10. 0 Social Security Review Cases
11. 0 All other Federal Question Cases
      (Please specify                       }
                                                                       i
                                                                 ARfHTRATION CERTIFICATION
                                                             (Check appropriate category)
I,   ichael T. Droo an r. Es uire                                               counsel of record, do hereby certify:
      • P rsuant to Local Civil Rule 53.2, Section 3(a)(2), that, to the best of my knowledge and belief, the damages recoverable in this
         c· · action case exceed the sum of$150,00Q exclusiv~terest and cost;
           elief other than monetary damages is sought.

DATE:          z/t'f/tr
                    I
                                                                                                                     55973
                                                                                                                           Attorney I.D.#
                                                                                          has been compliance with F.R.C.R 38.

I certify that, t~t:/ed;e;he within case is not r~lated to :ny -cas                             within one year previously terminated a:i:tionlin'this c<'mrt except as noted above.

DATE:                      I                            Michael T:.        Drooi;~... '~"i. ~"'i~~~                  55973    fu 11   'l ij
                                                                                                                           At orney I. ),
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CJV. 609 (9 /99)




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              Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 4 of 26

                           IN TfJ:P:E UNITED STATfrS"DISTRICT COURT
                        FOR THE EASTERl-J J6'RICT OF PENNSYLVANIA

                           CAS


MARITZA ORENGO and EDWIN: ORENGO

        v.                                                                                   No.
                                                '


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SPEEDWAY LLC, SPEEDWAY #6772, HESS RETAIL                                                           18
STORES LLC, and HESS RETAIL: OPERATIONS LLC

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Mana~ement Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the
reverse side of this form.) In the ev~nt that a defendant does not agree with the plaintiff regarding
said designation, that defendant shall,, with its first appearance, submit to the clerk of court and serve
on the plaintiff and all other parties, a case management track designation form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

                  (a)    Habeas Corpus -                       Cases brought under 28 U.S.C. §2241
                         through §22SS.                                                                        (    )

                  (b)    Social Security - Cases requesting review of a decision of the
                         Secretary of It:lealth and Human Services denying plaintiff
                         Social Securit1y Benefits.                                                            (    )

                  (c)    Arbitration - Cases required to be designated for arbitration
                         under Local Civil Rule 8.                                                             (    )

                  (d)    Asbestos - ~ases involving claims for personal injury or
                         property damage from exposure to asbestos.                                            (    )

                  (e)    Special Management - Cases that do not fall into tracks (a)
                         through (d) that are commonly referred to as complex and that
                         need special <fir intense management by the court. (See reverse
                         side of this fdirm for a detailed explanation of special
                         management cases.)                                                                    (    J
                  (f)    Standard Ma*agement -                          Cases that do not fall into any one
                         of the other tracks.                                               ~                  (


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        (Date)

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(Civ. 660)                                                                                                    f EB 14 20l8
                      Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 5 of 26


                                 LAW OFFICES' OF CULLEN & CONWELL, LLC
   ;-~--·"   ............   ·~     - .......... - ---ATT~'fl-NEYS AND COUNSELORS AT LAW
                                      ,;~         ~.           •     40 EAST MAIN STREET
                                     ff 'i:I                        NORRISTOWN, PA 19401

                                     '<~
                                     \·                            TELEPHONE (610) 275-2110
                                                 ._::;;            FACSIMILE (610) 275-2331
    ~-,                           \ ~U
                                    ''

Michael T. Droogan; Jr: ··'·--
E-Mail: thedroogs@comcast.net
Direct Dial: (215) 280-3489

                                                                    February 13, 2018

VIA HAND DELIVERY                                                                             18       667(
Kate Barkman, Clerk of Court
United States District Court for the                      'I

 Eastern District of Pennsylvania
US Courthouse, Rm. 2609
601 Market Street
Philadelphia, PA 19106-1767

              Re:                 Maritza Orengo and Edwin Orengo v. Speedway LLC, Speedway #6772,
                                  Hess Retail Stores, LLC and Hess Retail Operations LLC
                                  Docket No.: to be assigned
                                  Our File No.: 3589-244

Dear Ms. Barkman:

        Enclosed please find th¢ original and one copy of defendants', Speedway LLC
(incorrectly identified as Speedw~y, LLC and Speedway #6772) (and as successor by merger
with Hess Retail Operations, LLCj and Hess Retail Stores, LLC), Notice of Removal, along with
its Rule 7.1 Disclosure and a co*1puter disk containing same in .pdf format. Kindly file the
originals and return a time-stamped, certified copy in the self-addressed, stamped envelope
provided.                         ·

       Please note, my signature ialidation form is already on file with the United States District
Court for the Eastern District of P~nnsylvania.

             Also enclosed is the filing fee of $411.00.
                                                                                                               .......
             Thank you for your courtesies.
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                                                                                                   AN,:JR.      '.

MTD/                                                                                                            ..::;::-
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Enclosures
cc w/enc. (via e-mail):Michael P. Malvey, Esquire
         Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 6 of 26
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                        FOR THifEA's]l::iurutsTRiePOF PENNSYLvANIA
                                                                                        ~STRICT   COURT
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MARITZA ORENGO and EDWIN ORENGO                                                                                     .. ,
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   v.                                                                                                              .C"'
                                                                                        No.
SPEEDWAY LLC, SPEEDWAY] #6772, HESS
RETAIL STORES LLC, and HESS RETAIL
                                                                                                    F!Ls_J         <r
OPERATIONS LLC                                                                                     FEB    1~2018   .i:::-
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                                                                 B~TEr4R
                                                                  :Y- • 14A1
                                                NOTICE OF REMOVAL        o' Clerk
                                                                       - ep. Clerk

TO THE HONORABLE JUDGES OF THE SAID DISTRICT COURT OF THE UNITED STATES:

        The Petitioner, Speedway LLC (incorrectly identified as Speedway, LLC and Speedway

#6772) (and as successor by merger with Hess Retail Operations, LLC and Hess Retail Stores, LLC)

(herein: "Speedway"), respectfully represents:

        1.    This Civil Action was commenced in the Court of Common Pleas of Philadelphia

County, Pennsylvania, wherein Maritza Orengo and Edwin Orengo are the plaintiffs and Speedway

LLC is the defendant.     The action is captioned Philadelphia County Court of Common Pleas,

January Term, 2017, No. 000261. Plaintiffs commenced this action by a Civil Action Complaint on
                                        '
January 3, 2018. (A copy of said, Complaint is incorporated herein by reference and attached hereto

as Exhibit "A.")
                                        I   ,

        2.    Respondents, Maritza Orengo and Edwin Orengo, are adult individuals residing at

3606 Wyoming Ride South, Sinkihg Spring Pennsylvania, 19608.

        3.    In the caption of their Complaint, plaintiffs named the following defendants:

Speedway LLC, Speedway #6772, Hess Retail Stores, LLC, Hess Retail Operations, LLC. Id. at p.1.
                                        I
        4.    The Petitioner,       Sp~edway,     is a citizen of the States of Delaware and Ohio, by virtue

of being a limited liability compahy organized and existing under the laws of the State of Delaware,

and having its principal place of ~usiness in the State of Ohio. The Petitioners sole member is MPC
            Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 7 of 26




Investment LLC, a limited liability company organized and existing under the laws of the State of
                                   i

Delaware, and having its princip41 place of business in the State of Ohio. MPC Investment LLC has

as its sole member Marathon Petroleum Corporation, which is a corporation organized and existing
                                   '
under the laws of the State of D~laware, and having its principal place of business in the State of

Ohio.

           5.    Only Speedway LLC is the proper defendant, as it owned and operated the subject

convenience store on the on January 31, 2016.

           6.    Hess Retail Operations LLC and Hess Retail Stores LLC were merged into Speedway

LLC on October 1, 2015 and are no longer viable entities. Prior to that each was a Delaware Limited

Liability Company, with a principal place of business in Ohio.

           7.    Speedway #6772, is a fictitious name registered by Speedway LLC. It, too, is not a

viable entity.

           8.    The Respondents c(re citizens and residents of the Commonwealth of Pennsylvania.

           9.    Since the Petitioner and the Respondents are citizens of different states, they are

deemed diverse with respect to the instant Petition and the prerequisites of under 28 U.S.C. ' 1332(a)

and (c).
                                   I

           10.   Respondent alleges in her Complaint that on January 31, 2016, she slipped and fell at

a Speedway convenience store lo~ated at 154 Shillington Road, Sinking Spring, Pennsylvania, which

Respondent claims is owned and operated by the defendant, Speedway. See Exhibit "A."

           11.   Throughout their {:'.omplaint, Respondents allege Speedway operated a convenience

store located at 154 Shillington R~ad, Sinking Spring, Pennsylvania. Id




                                                 -2-
                                LAW OFFICES OF CULLEN AND CONWELL, LLC
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       12.     Petitioner, Speedway, admits it owns the property on which the convenience store is

located at 154 Shillington Road, I Sinking Spring, Pennsylvania, and it further admits it operates the

subject convenience store.

       13.     Respondent's Complaint alleges the following with respect to the amount in

controversy:

               •        . . . Plaintiff Maritza Orengo sustained disabling, painful, and permanent

                        personal in'juries including but not limited to:

               •        . . . Physical injuries to her body, including serious injuries to her left knee,

                        lower back and buttocks, including an acute comminuted fracture of the distal

                        lateral metaphyseal region of the left femur; hairline fracture about the knee;

                        aggravation and new injury to left knee and prior total knee replacement;

                        bulging of the disc at L5-S 1; left posterolateral herniation of the L4-L5; pain

                        and discot4fort to the lower back; pain and discomfort to the left lateral hip,

                        loss of strertgth, loss of motion and other injuries to her body, the full extent

                        of which ate not yet known, some or all of which may be permanent in nature;

               •        ... Great 'pain, suffering, and loss of enjoyment of life's pleasures, past and

                        future, em6tional upset, mental anguish, humiliation, embarrassment, and a

                        loss of well-being;

               •             Hospital, medical and rehabilitative expenses, past and future; and

               •             Loss of earnings and earning capacity, past and future .

       14.     In light of the foregoing allegations, if Respondents are able to establish the Petitioner

is liable for Respondent's damages, it appears that Respondent's damages may exceed the statutory

threshold of $75,000.



                                                 -3-
                                LAW OFFICES OF CULLEN AND CONWELL, LLC
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        15.    A notice of removal may assert the amount in controversy if the initial pleading seeks

"a money judgment, but the State practice ... permits recovery of damages in excess of the amount

demanded" and the district court finds that the amount in controversy is more likely than not above

$75,000. See 28 U.S.C. §1446(c)(2)(A)-(B); see also Gafford v. Gen. Elec. Co., 997 F.2d 150, 158

(6th Cir. 1993), abrogated on other grounds, Hertz Corp. v. Friend, 130 S. Ct. 1181 (2010).

       16.     Based on the avdments contained in the complaint it cannot be shown to a legal

certainty that the jurisdictional ainount cannot be recovered; thus, diversity jurisdiction exists. In

Frederico v. Home Depot, 507 F.3d 188, 195 - 197 (3rd Cir. 2007), the complaint was filed in state

court and removed to federal court. The complaint did not state an exact sum sought. Id at 197.

The Third Circuit explained that where the plaintiff limits her claim to avoid federal jurisdiction,

"the party wishing to establish subject jurisdiction has the burden to prove to a legal certainty that

the amount in controversy exceeds the statutory threshold."         Id at 195.   However, where the

complaint does not specifically ~ver that the amount in controversy is less than the jurisdictional

minimum, "the challenger to subject matter jurisdiction had to prove to a legal certainty, that the

amount in controversy could not 'exceed the statutory threshold." Id at *195 - 198. (Emphasis in

original). See also, Denicola v. Progressive Direct Insurance Company, 2009 WL 1684640 (M.D.

Pa) (Denying motion for remand, stating that where the complaint does not limit the amount in

controversy below the jurisdictional threshold, the case may only be remanded if it appears to a legal

certainty that the plaintiff cannot recover more than the jurisdictional amount of $75,000).

       17.     The Petitioner was served with Respondents' Complaint on January 16, 2018. Thus,

Removal is timely.

       18.     The prerequisites for removal under 28 U.S.C. '1332(a) (diversity of citizenship and

amount in controversy) have been met. If any questions arise as to the propriety of the removal of



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                               LAW OFFICES OF CULLEN AND CONWELL, LLC
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this action, Speedway respectfully requests the opportunity to present briefing, argument, and further

evidence necessary to support its position that this case is removable.

       19.     In removing this dction, Speedway specifically reserves all of its defenses including,

without limitation, all defenses specified in Rule 12(b) of the Federal Rules of Civil Procedure.

       WHEREFORE, Petitioner prays the instant action designated in the Philadelphia County

Court of Common Pleas, January Term, 2018, No. 00261 be removed from the State Court in the

Commonwealth of Pennsylvania to this Court for trial and determination.

                                              Respectfully submitted,




                                              By:




Date: February 14, 2018




                                                -5-
                               LA"' OFFICES OF CULLEN AND CONWELL, LLC
        Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 11 of 26




                             IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MARITZA ORENGO and EDWIN ORENGO

   v.
                                                       No.
SPEEDWAY LLC, SPEEDWA Yi #6772, HESS
RETAIL STORES LLC, and HESS RETAIL
OPERATIONS LLC


                                     CERTIFICATE OF SERVICE

        I, Michael T. Droogan, Jr., Esquire, do hereby certify that a true and correct copy of Defendant's

Notice of Removal pursuant to 2$ U.S.C. §§ 1332 and 1441 was served via e-mail, on~s 14th day of

February 2018, upon the following:                                                      Fr ll~D
                                                                                              • Jt,;;:_~
                                                                                         ell I~
                                      Michael P. Malvey, Esquire               Sy lfl4rue,. ~, .,..1010
                                      GALFAND BERGER LLP                        ""--~~·
                                      1835 Market Street, Suite 2710                   ..........._De c1e11r
                                                                                                   'P. Clerk
                                      Philadelphia, PA 19103




                                             By:
     Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 12 of 26




I



II
x
                                   Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 13 of 26


.   '
              .. • Court of Common Pleas of Philadelphia County
                                 Trial Division
                                  Civil Cover Sheet1I
            PLAINTIFF'S NAME                                                                                                  DEFENDANT'S NAME
             MARITZA ORENGO                                                                                                          SPEEDWAY, LLC

            PLAINTIFF'S ADDRESS                                                                                     jcef'wifANT's ADDRESS
             3606 WYOMING RIDE SOUTH                                                                                   '            500 SPEEDWAY DRIVE
             SINKING SPRING PA 19608                                                                                                ENON OH 45323

            Pi.r.JITTIFF'S NAME
             EDWIN ORENGO
                                                                                                                         1·   DEFENDANT'S NAME
                                                                                                                                     SPEEDWAY #6772                                   •                                  •                           JI
            PLAINTIFF'S ADDRESS                                                                                        ii     DEFENDANrSADDRESS
        ' 3606 WYOIMING RIDE SOUTH                                                                                                  154 SHILLINGTON ROAD
          SINKING SPRING PA 19608                                                                                       1
                                                                                                                                    SINKING SPRING PA 19608

            PLAINTIFF'S NMIE                                                   ·!!                                    .I DEFENDANT'S NAME                            "'"""--'""""'-'""-           -~"·~-·""" ,,~,,.,              _.,.,
                                                                                                                        1,
                                                                                                                        111
                                                                                                                                    HESS RETAIL STORES, LLC
                                                                                                                       I                                                                                                                  _,
            PLAINTIFF'S ADDRESS                                                                                               DEFENDANT'S ADDRESS
                                                                                                                                    154 SHILLINGTON ROAD
                                                                                                                                    SINKING SPRING PA 19608

            TOTAL NUMBER OFPLAINTIFFS           TOTAL NUMBER OF DEFE~DANTS                            COMMENCEMENT OF ACTION

                              2                                  4
                                                                                                      ,liJ'complaint
                                                                                                      ~ ','.'~-~ 111:.:;1!iii::·::1·:::;;:::·.,;.,
                                                                                                                                                                D   Petition Action               0    Notice of Appeal
                                                                                                    :1!, SI:~~·' of~pmmons "
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                                                                                                                                                                q, Transfer From Other Jurisdictions
            AMOUNT IN CONTROVERSY       l    COURT PROGRAMS          ,             :"'
                                                                                                                   ,,,.11.,i,




            D    $50,000.00 or less
                                         ID Arbitration                         !f       ,   D   Mass Ton                                                       0   Commerce                     0     Settlemcnl
                                         1'li1 Jury                                      ,0      Savings Action                                                 0   Minor Court Appeal           D     Minol'S ,
            [i) More than SS0,000.00     J D Non-Jury                                        D   Petition                                                       D   S1arutory Appeals            D     W/D/Survival
        I                                i D Other. ..                                                                                                                     ,                                   _ ------1
        'I CASE TYPE AND CODE                                                  '
              2S - PREMISES LIABILITY, SLIP/FALL
                                                                               I
        I
            STATUTORY BASIS FOR CAUSE OF ACTION



                                                                              •
            RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET ~UMBER)                                                    Al.etJ                                             11s CASE SUSJECT TO
                                                                                                                                                                                      COORDINATION ORDER?
                                                                                                        PAOPROTHV                                                                I              YES           NO

                                                                                                    JAN 03 2018                                                                  11




                                                                                                              C. MILLER
                                                                                                                                                                            -------·------ -- .               '

            TO THE PROTHONOTARY:
            Kindly enter my appearance on behalfof Plaintiffflletitioner/Appellant: MARITZA .ORENGO , EDWIN ORENrilb
                                                                           ::
            Papers may be served at the address set forth bel'?w,

            NAME OF Pt.AINTIFF'S/PETmONER'S/APPELLANrS ATTORNEY                i                                           ADDRESS
             MICHAEL MALVEY                                                                                                     GALFAND BERGER LLP
                                                                                                                                1835 MARKET STREET
                                                                         ,'
            PHONE NUMBER                            FAX NUMBER                                                                  SUITE 2710
              (215)665-1600                         (215) 564-2!262                                                             PHILADELPHIA PA 19103
                                                                                                                    I                                                                                                                                -
            SUPREME COURT IDENTIFICATION NO                                                                         ! E·MAlLAODRES~                             ,
              8 9186                                                                                                           nunal vey@ga1)~f andberger. com
                                                                          !
                                                                         11
                                                                                                                                                                                                                  ,,..,_..,,,,,...,_,.,._,,..,,,,,
                                                                         I,,
            SIGNATURE OF FILING ATTORNEY OR PARTY                                                                         DATE SUBMITTED
             MICHAEL MALVEY                                                                                                    Wednesday, i:r.anuary 03, 2018, 04:28 pm
                                                                         i
                                                              FINAU COPY (Approved by the Prothonotary Clerk)
                                                                                                                                                                -                                                                         ··---·
          Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 14 of 26




COMPLETE LIST OF DEFENDANTS.:
    1. SPEEDWAY, LLC
          500 SPEEDWAY DRIVE
         ENON OH 45323
    2. SPEEDWAY #6772
         154 SHILLINGTON ROAD .:
                               ,,

         SINKING SPRING PA 19608
    3. HESS RETAIL STORES, LLC j
         154 SHILLINGTON ROAD
         SINKING SPRING PA 1960$
    4. HESS RETAIL OPERATIONS, ~LC
         154 SHILLINGTON ROAD
         SINKING SPRING PA 1960B
       Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 15 of 26
                                             -''·'"'''___.,_ '"''""""''"'""'""""_   __.._.o_""'"""°"""'''•""lJ'''"''"''""""'l"l'l,!•ul:l,l::'i::'l'M:ll.'::>,NJ;.~""'''~l'l~··i' OJ''',1"!-i::ll~.;1-1~ ''''~"'''" . .""""""''--"      ,_,,,,,,.,.,.,,_, .... ,,.,.'   O   • ••'"-"'4.-•-'-"•




GALFAND BERGER L.L.P.
By: Michael P. Malvey, Esquire
Identification No. 89186
By: Parhan S. Ali, Esquire
Identification No. 323218
1835 Market Street, Suite 2710 ,
Philadelphia, Pennsylvania 19103
(215) 665Ml600                  i

mmalvey@galfandberger.com                                                           Attorneys for Plaintiffs

MARITZA ORENGO
         and
EDWIN ORENGO, w/h
3606 Wyoming Ride South,
Sinking Spring, PA 19608
                    Plaintiffs                                                      IN THE COURT OF COMJvION PLEAS
                    v.                                                              PHILADELPHIA COUNTY
                                                                                    CIVIL TRIAL DIVISION
SPEEDWAY LLC
500 Speedway Drive,                                                                                                                                                         TERM
Enon, OH 45323
        and
SPEEDWAY #6772                                                                      NO:
154 Shillington Road,                                                               Tms IS NOT AN ARBITRATION CASE.
Sinking Spring, PA 19608                                                            AN ASSESMENT OF DAMAGES
        and                                                                         HEARING IS REQUIRED.
HESSRETAILSTORESLLC
154 Shillington Road,                                                               JURY TRIAL DEMANDED.
Sinking Spring, PA 19608
        and                          11



HESS RETAIL OPERATIONS L..LC
154 Shillington Road,    "
Sinking Spring, PA 19608
                    Defendants.



                                                      NOTICE

You have been sued in Court. If you'' wish to defend against the claims set forth in the following pages,
you must take action within twenty C20) days after this Complaint and Notice are served by entering a
written appearance personally or by ian attorney and filing in writing with the Court your defenses or
objections to the claims set forth a~ you. You are warned that if you fail to do so the case may
proceed without you and a judgmen~ may be entered against you by the Court without further notice for
any money claimed in the Complaint or for any other claim or relief requested by the Plaintiff. You may
lose money or property or other rights important to you.
                                    I:




                                                                                                                                                                                                                                    Case "ID: I ~O 1002(
       Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 16 of 26
               '""'''"'"''"""'"'"''1""·'""'''""·"''....,_''"''''"''''""""""'"""·"·'·""'"''"'"~..,.~-.-1 .....,,,   ,,,., _ _ """"""""""\'""~"'"'''~>1:o~~1"'1-r.<w~<~w:"':~.,,,~:~1:,,:.4f-.11,~~'''-"'"'""""'-""'"111<""'~·l·",..,..,,.i.~,.-,,,,:m1!-,rl,i;-~~.:.:::.:;.:.,~::,;i.:.::::::,.,;;.:..:.;:;:;:::.,;: 1 ;:,, 1 ;~~,,~~'




YOU SHOULD TA.KB nns p APB~ TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE A
LAWYER OR CANNOT AFFORD: ONE, GO TO OR TELEPHONE THE OFFlCE SET FORTH
BELOW TO FIND OUT WHERE you CAN GET LEGAL HELP.

                                                                                     PHILADELPHIA BAR ASSOCIATION
                                                                                    La~er Referral and Information Service
                                                                                      · 1101 Market Street, 11 th Floor
                                                                                                  Il?hiladelphia, Pennsylvania 19107
                                                                                                             (215) 238-6300



                                                                                                                                               AVISO

Le ban demandado en la carte. Si usted qujere defenderse de estas demandas expuestas en las paginas
siguientes, usted tiene veinte (20) di115 de p1azo de ]a demanda y notificacion para asentar una
comparesencia escrita en persona o por su abogado y archivar con la corte en forma escrita sus defensas o
sus objeciones a las demandas en c~btra de su persona. Sea avisado que si usted no se de:fiendc:, la corte
puede continuar la demanda en contf'a suya y puede entrar una decision contra usted sin aviso o
notificacion aclicional por la cantidap de dinero de la demanda o por cualquier reclamacion becha por el
demandante. Usted puede perder d41ero o propiedad u ot.ros derecbos importantes para usted .
                                                                                                  •!


USTED DEBE DE LLBVAR ESTA DEMANDA A UN ABOGADO INMEDIATAMENTE. SI NO
TIENE ABOGADO 0 SI NO TIENE EL DINERO SUFICIENTE PARA PAGAR TAL SERVICIO,
VAYA EN PERSONA 0 LLAME POR TELEFONO A LA OF1CINA CUYA DIRECCION SE
ENCUENTRA ESCRITO ABAJO PARA AVERIGUAR DONDE SE PUEDE CONSEGUIR
ASISTENCIA LEGAL.

                                                         ASSOCJACION DE ABOGADOS DE FILADELFIA
                                                            Servipio De Referencia E Informacion Legal
                                                                   ' 1101 Market Street, 11th Floor
                                                                 ·• Filadelfia, Pemisylvania 19107
                                                                            (215) 238-6300




                                                                                                                                                       2.
                                                                                                                                                                                                                                                                                      Case fD: I RO I 002t
                                                               Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 17 of 26
~,,_,,,_:.--'"'·'1~'""'"*11~'~'~'~"' "' ··'•"'r--""""""'':·r·"'"'·'""""""'"'1"'"""'"""'"""'""'''""'""'"'"...,..J_.,,_..~~k'·1::1:1mJl~.~~'n!ll11:1i~:111~•;"'"!'~~~:w:',*·',.....~~'8j:·11•'"'#M1>N.~' 1•· •r.t'' .··a~H<wrn.:.:::::.:.~:L!t!,u.:.'..:.::::..;,~...;.-.~~i:;~.;..;.;.".:.:::..;..:.;,;, ::,.~·,:,1~1:::~~:.~.:.:;::..:.~~~--..,···"-''·""'•""'""':·=·-·,.....".,..,<+



 ..
                                                                                                                                                                      COMPLAINT
                                                                                                                                                   I~


                                                                  1.                    Plaintiffs Maritza Orengo and Edwin Orengo are adult residents and citizens of
                                                                                                                                                   '!




                                           the Commonwealth of Pennsylvapia, residing therein at 3606 WyominglRide South, Sinking

                                           Spring, PA 19608.
                                                                                                                                               I'


                                                                 2.                    Defendant Speed"'ay LLC is an Ohio corporation or oth~ business entity, with its
                                                                                                                                               I'
                                                                                                                                               i!


                                          principal place of business at soq Speedway Drive, Enon, OH 45323.
                                                                                                                                                   I


                                                                 3.                    Defendant Speedway #6772 is a Pennsylvania corporation or other business

                                           entity, with its principal place ofbusiness at 154 Shillington Road,                                                                                                                                      Sl'                 g Spring, PA 19608.

                                                                 4.                    Defendant Hess Retail Stores LLC is a Pennsylvania co oration or other business

                                          entity, with its principal place o+usiness at 154 Shillington Road,

                                                                 5.                    Defendant Hess R~tail Operations LLC is a Pennsylvani, corporation or other
                                                                                                                                                                                                                                                    sf                   g Spring, PA 19608.



                                          business entity, with its principal ·.'place of business at 154 Shillington                                                                                                                                       RI ad, Sinldng Spring, PA
                                           19608.                                                                                              '

                                                                6.                     Defendants Speedray LLC, Speedway #6772, Hess Retj1 Stores LLC, and Hess

                                          Retail Operations LLC may hereir.after be referred to, individually and Illectively, as the

                                          Speedway Defendants in this Cotlpplaint.
                                                                                                                                              .,
                                                                                                                                              ,,


                                                                7.                     At all times mateqal herein, the Speedway Defendants o ned and operated

                                          nmnerous gas stations within PJodelpbia County, solicited customers la advertisements in

                                          Philadelphia, and were conduciJg business on a routine basis in the Philadelphia area and

                                          deriving compensation therefroml                                                                                                                                                                                         I
                                                                                                                                              I
                                                                                                                                              ;!

                                                                8.                     At all times releva!µt hereto, Defendants owned, controlled, operated, serviced,
                                                                                                                                              ,,
                                                                                                                                              "
                                          and/or maintained a gas station Jqcated at 154 Shillington Road, Sinking Spring, PA 19608.




                                                                                                                                                                                         3.
                                                                                                                                                                                                                                                                                                            Cusc JD: 180 I 002('
                                                                                       Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 18 of 26
,-~ ..,,...-__._:4~'"'"~'""'-·~~..:.._-_.,_U'1Ht>i:Oi-..ii•!':l~''"·"'·""'"'1'N•.~l'•::·•.~~·"'~''-Lt:11.,\l,l~ii'•...~,.,,~1i1i1:i 1''1:;111:.fl<r<~I :1.··~·IM1·1~*-lml·llM~~i~J.1l~l~~''h11!-JJ.WIJ,:;i;,.ll'\'""'''        ul.lil>tffl'~WU'"...19\f:'f;:';)ll!tMam:i'l~;.11:1J',',l!"l>~l:~:q1~1:~·~'fl:\'!~tl:lltt~\'1n:i-~:~1~:,,:,i,;,.,~,,.,:,,,,.:,,~t,;:.;.~,;;:s.:.J.t:Jli,.\,;.;t::;,;;;;:;;~:;.;._..,,,.._~,-~...,..1-..,,,_t.,~, .'.,,;,,,,.,..,.,




                                                                                           9.                             All events referre~ herein ocCWTed on or about January 31, 2016 on real estate

                                                           owned, possessed, and maintaine{J by Defendants.
                                                                                                                                                                                                                i


                                                                                           10.                            At all times relevapt hereto, Plaintiff Maritza Orengo was on the premises of
                                                                                                                                                                                                                i
                                                           Defendants as a business invitee, :,visiting the gas station to pump gas into her car.

                                                                                           11.                            At all times relevafit hereto, Plaintiff Maritza Orengo was on Defendants'
                                                                                                                                                                                                                ,,


                                                           premises in furtherance ofDefenc;lants' business activities.

                                                                                           12.                            At all times relevapt hereto, Defendants invited business invitees, such as Plaintiff
                                                                                                                                                                                                            :1




                                                           Maritza Orengo, to pump gas at their gas pwnps, walk through the gas station, and visit the store

                                                           located on the premises.

                                                                                           13.                            The weather on Japuary 31, 2016 was clear and dry, and the most recent snowfall

                                                           or other precipitation was severalidays prior.

                                                                                           14.                           Upon infonnation iand belief: the temperature on January 31, 2016 at or around

                                                          the time when the events giving rlse to this matter took place, was below freezing.                                                              !i

                                                                                                                                                                                                           I

                                                                                          15.                            Upon infonnationl:ana belief: while Plaintiff Maritza Orengo was present at

                                                           Defendants' gas station on January 31, 2016, Defendants al1owed ice that had previously formed

                                                          to remain on the ground in the parking lot.
                                                                                                                                                                                                           I
                                                                                                                                                                                                           I


                                                                                          16.                            For an unreasonab!Ie period of time prior to and including January 31, 2016,
                                                                                                                                                                                                       i
                                                          Defendants allowed ice to remairl'. on the ground in the publicly accessible areas at the gas

                                                          station, which created a hazardo~ walking surface for anyone walking in between the gas pumps

                                                          at Defendants' premises.

                                                                                          17.                            At all relevant tim~s hereto, Defendants were responsible for keeping the
                                                                                                                                                                                                      i

                                                          premises free of defective and dangerous conditions.                                                                                        'I
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                                      Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 19 of 26
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                                         18,                   At all times relev$t hereto, no other known person or entity but Defendants were
                                                                                                                           I

                                                                                                                          1:

                                                                                                                           I
                    responsible for the inspection, m~ntenance, and removal ofice at the gas station as well as
                                                                                                                          I!




                    salting, cindering, and placing otier anti-freeze chemicals at the gas station to prevent water

                    from :freezing.
                                                                                                                      ,,
                                                                                                                      I

                                        19.                    On January 31, 20116, at approximately 9:33 a.m., Plaintiff Maritza Orengo bad

                    completed filling her car with gas and began walking towards the store to get a receipt for the gas

                    she had purchased, which did no~ print at the pump.

                                        20.                   While Plaintiff Miµitza Orengo was walking in between two sets of gas pumps,
                                                                                                                      ::


                    she slipped on ice that was permi~ed to remain on the gas station surface for an umeasonable
                                                                                                                          I
                                                                                                                      ,1




                    length of time and violently fell                                                              to the ground striking her left knee, lower back, and buttocks
                    causing serious, disabling, and pennanent personal injuries described herein.

                                        21.                   Prior to the time p;:laintiff Maritza Orengo walked in between the two gas pumps,
                                                                                                                          I



                    Defendants had ample time and d,pportunity to remove or treat the ice at the gas station.
                                                                                                                     ;[


                                        22.                   Alternatively, De.f~ndants had ample time prior to Plaintiff Maritza Orengo's
                                                                                                                     1!

                                                                                                                     i

                    arrival at the gas station to place~ sign, cone or other warning over the patch of ice to warn
                                                                                                                     I'



                    invitees, such as Plaintiff, not to ~alk in the area where her fall occurred.

                                        23.                   At all times relevant hereto, Defendants expected, knew or should have known
                                                                                                                     :1


                                                                                                                     'i
                    that business invitees, such as Pl~ntiff Mnr:itza Orengo, would walk in between the gas pumps to
                                                                                                                      i

                    access the store on the premises.                                                                'i

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                                       24.                    At all times relevaht hereto, Plaintiff Maritza Orengo was proceeding cautiously
                                                                                                                     ,,


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                    and was using due care for her oV(n safety under the circumstances.




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"

             25.     Defendants should have inspected and maintained the aforementioned premises in

    a reasonably safe condition and 'Yarned persons on its premises, especially Plaintiff Maritza
                                                 ,,



    Orengo, of the existence of any hkardo~s conditions, particularly the ice that had formed.

             26.     Defendants knew or should have known for a long time prior to the day of

    accident that the gas station was fu an unsafe condition and that ice had formed and created an
                                                ,,
                                                ,,




    unreasonable risk of harm to persons walking around the gas station.

             27.     Defendants were ~ware that business invitees visiting the gas station, such as

    Plaintiff Maritza Orengo, would talk in between the gas pumps to access the store on the

    premises but yet still allowed the iice to remain in the subject gas station untreated for an
                                                I
                                            ,I

    unreasonable length of time priori to Plaintiff Maritza Orengo's fall.

            28.      Defendants knew or should have known that pedestrians walking through the gas

    station would have their attention diverted to vehicles that would be driving through the area, and
                                            ,,



    would not have the opportunity    tq observe ice that was allowed to remain on the ground.
                                            !



            29.      Defendants w1dertpok the responsibility to plow, cinder, and salt the parking lot
                                            i

    area where Plaintiff Maritza Ore~go fell.

            30.      Defendants failed ~o properly and timely de~ice and apply salt and cinder to the

    gas station where Plaintiffs fall qccurred, despite having a reasonable amount of time to do so
                                        '
    prior to the fall.

            31.      The dangerous accumulation of ice, which was pennitted to form in Defendants'
                                       i'

    gas station, could have been discqvered upon minimal inspection by Defendants and salted,
                                       1i

                                       'I

    cindered, and/or removed with li*1e cost.
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                                       'I

            32.      Defendants' negligence as described within this Complaint was the direct factual
                                       'I

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    cause of Plaintiff Maritza Orengd's injury and resulting losses.
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                                                                              Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 21 of 26
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                                                                                    33.                                As a result ofDe(endants' negligence, Plaintiff' Maritza Orengo sustained
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                                                                                                                                                                                    :i
                                               disabling, painful, and pennanen~ personal injuries including but not limited to:

                                                                                                     a. Physical injuries t.o her body, including serious injuries to her left knee, lower

                                                                                                                       back and buttocks, including an acute comminuted fracture of the distal lateral
                                                                                                                                                                                    ,,


                                                                                                                                                                                    ",,

                                                                                                                       metaphyseal regi9n of the left femur; hairline fracture above the knee;
                                                                                                                                                                                    i
                                                                                                                       aggravation and n'.ew injury to left knee and prior total knee replacement; bulging

                                                                                                                       of the disc at L5-S 1; left posterolateral herniation of the L4-L5; pain and

                                                                                                                       discomfort to the lower back; pain and discomfort to the left lateral hip, loss of
                                                                                                                                                                                    '

                                                                                                                       strength, loss of 1*otion and other injuries to her body, the full extent of which are
                                                                                                                                                                                   ·1


                                                                                                                                                                                   ,!

                                                                                                                       not yet known, soµie or all of which may be permanent in nature;

                                                                                                     b. Great pain, suffering, and loss of enjoyment of life's pleasures, past and future,
                                                                                                                                                                                   "


                                                                                                                       emotional upset, mental anguish, humiliation, embarrassment, and Joss of well-

                                                                                                                       being;
                                                                                                                                                                               ,,


                                                                                                     c. Hospital, medfoal!I and rehabilitative expenses, past and future; and

                                                                                                     d. Loss of earnings 4nd earning capacity, past and future.
                                                                                                                                                                                   !




                                                                                                                                                                           COUNT I- NEGLIGENCE
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                                                                                                                                                                        PLAINTIFFS v. ALL DEFENDANTS
                                                                                                                                                                               ~!



                                                                                  34.                                 Plaintiffs incorporate by reference the preceding paragraphs as though set forth at

                                              length herein.

                                                                                  35.                                 The negligence a4d carelessness of Defendants consisted of the following acts

                                               and omissions:
                                                                                                                                                                              ,,

                                                                                                                                                                              I!


                                                                                                                       a.                          Failing to ,heat and/or remove ice which had formed upon the subject gas
                                                                                                                                                   station; ·

                                                                                                                      b.                           Failing to properly maintain the gas station and keep it in a safe condition;

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                                     II

           c.    Failing to ;properly service and keep its property in good repair;
                                     ;1




           d.    Failing to warn others, particularly Plaintiff Maritza Orengo, of the
                 dangerous, ice that developed in the gas station;

           e.    Allowing ice to develop and remain in the gas station for an unreasonable
                 Jength of time; 11

                                 11




           f.    Allowing ice to develop as a result of Defendants' failure to properly and
                 sufficientlv plow, shovel, de-ice, salt and cinder the gas station;
                                 !1




           g.    Failing to ~roperly apply de-icing materials at the premises and gas
                 station;

           h.    Failing to provide visual warning signs, cones or other devices to alert
                 pedestrians walking through the gas station to the existence of a dangerous
                 walking condition;
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           i.    Failing to place a physical barrier over or near the ice so as to prevent
                 Plaintiff1'4aritza Orengo's fall and injuries;
                                ,j

           j.    Failing to prevent the formation of ice in the gas station;
                                ;1




           k.   Failing to bstablish, maintain, and enforce ice removal policies and
                procedures;
                            ,,

                                I
           1.   Allowing ice to develop of dangerous size and quality so as to create an
                unreason~le risk of harm to others, especially Plaintiff Maritza Orengo;
                            ,,




           m.   Failing to ~egularly inspect the gas station;

                Failing to ~xercise the proper and adequate care necessary due to
                            "
           n.
                inclement 1;conditions that had resulted in the formation of ice at the gas
                station; "

           o.   Failing to tceep the ice from becoming a dangerous and unreasonable risk
                ofhann td; others, especially Plaintiff Maritza Orengo;
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           p.   Failing to recognize the dangerous accumulation of ice in the gas station;
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           q.   Permitting a dangerous condition to exist by failing to pre-treat the gas
                station wit;h de-icing agents, salt and cinder in advance of the unfavorable
                weather fclrecast;



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                                                                                                                                                                                                                                i
                                                                                                                                r.                                  Permitting;a dangerous condition to develop and exist (accwnulation of
                                                                                                                                                                    ice) by not: attempting to place salt, cinder, and de-icing agents on the gas
                                                                                                                                                                    station thei'afternoon and evening of Plaintiff Maritza Orengo's accident.
                                                                                                                                                                                                                            ,,


                                                                                                                                                                                                                            ;:


                                                                                           WHEREFORE, Plaintiffs,! demand judgment against all Defendants, jointly and severally,
                                                                                                                                                                                                                            ,,

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                                                        in an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus costs, interest, and such

                                                       other relief that the Court deems just and proper.
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                                                                                                                                                       COUNT II-LOSS OF CONSORTIUM
                                                                                                                                                 PLAINTIFF 'DWIN ORENGO v. ALL DEFENDANTS
                                                                                                                                                                                                                           'i


                                                                                           36.                                  Plaintiffs incorpo*te by reference the preceding paragraphs as though set forth at         ,,




                                                       length herein.

                                                                                           37.                                  On January 31, 2016, Plaintiff Edwin Orengo was married to Plaintiff Maritza

                                                       Orengo.
                                                                                                                                                                                                                       1i
                                                                                                                                                                                                                       :,



                                                                                           38.                                 In the event that P:laintiffMaritza Orengo prevails on any of her causes of action      I

                                                                                                                                                                                                                      :
                                                       against the Defendants, Plaintiff Edwin
                                                                                         I
                                                                                               Orengo is entitled to be compensated for his loss of
                                                                                                                                                                                                                      i
                                                      consortium as a result of Plaintitf s accident and injuries.
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                                                                                          39.                                  AJJ a direct result c;>f Plaintiff Maritza Orengo 's accident and injuries, Plaintiff

                                                      Edwin Orengo sustained a Joss of the services, society, and conjugal fellowship of his wife.




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                   WHEREFORE, Plainti~i demand judgment against all Defendants, jointly and severally.
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                                            ;I

          in an amount in excess of Fifty Thousand ($50,000.00) Dollars, plus costs, interest, and such
                                            "
                                            ,,


          other relief that the Court deems ~ust and proper.



                                                                     Respectfully Submitted,

                                                                     ~BERGER,LLP

                                                        By:
                                                                        CHAEL               ~;ESQfilJRE


          Dated:    if li {
                      3
                                                                     FARRAN S. ALI, ESQUIRE
                                                                     Attorneys for Plaintiffs




                                                          jQ,

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                                                             Case 5:18-cv-00657-HSP Document 1 Filed 02/14/18 Page 25 of 26
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